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                        Exhibit 3

             Remaining Real Property Assets
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Remaining Leased Real Property Assets


                                                                                                       Total
Site #      Street Address                       City                 State   Zip          Doors       Sq. Ft.   Acreage
Y626        75 Dufferin Place SE                 Calgary              AB      T2C 4M2          44      27,300         9.78
Y627        16060 128 Avenue                     Edmonton             AB      T5V 1B6          42       21,520        7.00
Y841        2021 S 51st Avenue                   Phoenix              AZ      85043           140       83,739       33.89
Y899        3985 Still Creek Avenue              Burnaby              BC      V5C 4E2          54       35,147        6.80
Y830        18298 Slover Avenue                  Bloomington          CA      92316           325 210,940            54.20
Y783        9933 Beverly Boulevard               Pico Rivera          CA      90660           125       69,796       12.00
Y833        1130 South Reservoir Street          Pomona               CA      91766            48       36,758        4.57
Y889        25555 Clawiter Road                  Hayward              CA      94545            66      42,438        10.21
Y896        700 N Eckhoff Street                 Orange               CA      92868            95      45,605         8.91
R390        751 Nuttman Avenue                   Santa Clara          CA      95054            39       12,500        2.70
Y805        270 Dutton Avenue                    Santa Rosa           CA      95407            30       12,720        3.76
YOVH - SJ   1700 Montague Expressway             San Jose             CA      95131            57      26,250         5.80
R829        10661 Etiwanda Avenue                Fontana              CA      92337           165      104,708      25.00
Y847        15400 S Main Street                  Gardena              CA      90248            87      49,950         8.53
Y811        499 Valley Drive                     Brisbane             CA      94005            41       19,888         6.4
Y808        6930 Cactus Court                    San Diego            CA      92154            32       11,500        4.79
R517        11937 Regentview Avenue              Downey               CA      90241            71       31,147        6.50
Y641        9525 Padgett Street                  San Diego            CA      92126            49       17,088        5.51
R866        1619 North Plaza Drive               Visalia              CA      93291            38       13,600   42 Spaces
Y840        2451 Portico Boulevard               Calexico             CA      92231            21      10,080    3.3 Acres
Y820        17401 Adelanto Road                  Adelanto             CA      92301            16        9,250       81.62
R535        1100 W Del Norte Street              Eureka               CA      95501            16        4,253        1.40
R834        223 East Roemer Way                  Santa Maria          CA      93454            16        4,148        3.14
R512        2065B Alexander Avenue               Anderson             CA      96007            15       12,523       10.00
Y813        841 W M. L. King. Jr. Way            Merced               CA      95340                2       375    2,367 SF
Y890        14700 Smith Road                     Aurora               CO      80011           108       61,541       32.50
Y891        4810 Northpark Drive                 Colorado Springs     CO      80918            20       6,400        4.00
R831        1547 Independent Avenue, Unit 1      Grand Junction       CO      81505            16       5,000         1.00
Y145        177 W Johnson Ave                    Cheshire             CT      06410            92       74,554        1.00
Y754        9801 Palm River Rd                   Tampa                FL      33619            78      25,800        10.30
Y423        1265 LaQuinta Drive                  Orlando              FL      32809            72      40,560        14.99
Y740        11301 NW 134th Street                Miami                FL      33178            117      56,512       17.66
Y714        410 SW 52nd Avenue                   Ocala                FL      34474            20       8,880         5.43
Y402        1892 Airport Industrial Park Drive   Marietta             GA      30060           227      174,979       42.45
Y401        175 Horace Head Road                 Jefferson            GA      30549            16       11,140        3.72
Y705        1250 Sunset Drive                    Thomasville          GA      31792            31      10,580         5.51
R815        1405 N Olive Avenue                  Meridian             ID      83642            28       17,982     15.79 A
R630        14299 W US Highway 30                Pocatello            ID      83206            20       10,920        3.30
R660        304 6th Avenue W                     Twin Falls           ID      83301            12       6,420         1.00
H360        3801 Mound Road                      Joliet               IL      60436           100      62,460       50.30
H319        1751 New Milford School Road         Rockford             IL      61109            80      33,005        43.10
Y318        260 E Old Chicago Drive              Bolingbrook          IL      60440            90      42,350         9.20
Y355        3910 E. Harrison Ave                 Decatur              IL      62526            26        5,150        2.00
H311        5550 W Cleveland Road Ext            South Bend           IN      46628           102      55,950        26.30
Y312        1415 S Olive Street                  South Bend           IN      46619            85      40,840         11.13
Y356        4900 N 13th Street                   Terre Haute          IN      47805            24       10,360        2.77
Y367        505 Graves Boulevard                 Salina               KS      67401            16       13,819        0.33
Y352        1621 NW Saline Street                Topeka               KS      66618            10       4,080         2.66
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Remaining Leased Real Property Assets


                                                                                                        Total
Site #     Street Address                        City                  State   Zip          Doors       Sq. Ft.   Acreage
Y510       1333 N Market Street                  Shreveport            LA      71107            24        7,570         2.49
N109       28 Sterling Road                      North Billerica       MA      01862            96      40,700       12.20 A
N133       241B Bliss Street                     West Springfield      MA      01089            51      12,600          2.52
Y479       1400 Inkster Boulevard                Winnipeg              MB      R2X 2X3          72      131,820        17.00
N113       6351 S Hanover Road                   Elkridge              MD      21075            61      33,838         10.54
Y230       1001 Stephenson Street                Norway                MI      49870                4     6,515   10 T / 5 A
H350       10151 South Division Avenue           Wayland               MI      49348           110      64,622          25.6
H424       11220 Xeon Street NW                  Coon Rapids           MN      55448           101      56,750        24.00
Y326       3500 Booth Avenue                     Kansas City           MO      64129           193      135,195        55.81
H345       830 Highway AA                        Miner                 MO      63801            36       11,080         4.30
Y653       11010 Reames Road                     Charlotte             NC      28269           274 269,939            66.08
Y616       3215 US Highway 70                    Durham                NC      27703            31      20,200      5.485 A
H622       1305 Kirkland Rd                      Raleigh               NC      27603            49       17,700         6.76
Y408       720 64th SE                           Minot                 ND      58701                8     1,300          8T
Y804       9971 U.S. Hwy 26                      Bridgeport            NE      69336                5     1,792         1.00
Y126       700 Dell Road                         Carlstadt             NJ      07072            70       27,765        12.99
Y111       72 Second Street                      Kearny                NJ      07032           104      50,918         12.90
Y112       49 Thomas J. Rhodes Industrial Park   Trenton               NJ      08619           102      45,057         18.80
Y122       445 Hollywood Avenue                  South Plainfield      NJ      07080            61      29,850          6.10
R507       143 Main Street                       Elko                  NV      89801                1    2,000          UNK
N107       58-60 Page Place                      Maspeth               NY      11378            76       30,215         4.86
Y116       50 Burt Drive                         Deer Park             NY      11729            54       18,337         4.96
Y237       182 Kelly Road                        Plattsburgh           NY      12901                6     4,375         3.00
Y150       12 Dock Street                        Mount Vernon          NY      10550            36      10,305          3.16
Y198       1620 Grand Central Avenue             Elmira                NY      14903            16        3,375         1.63
Y532       14549 E Admiral Place                 Tulsa                 OK      74116            50      26,740         13.62
Y268       6130 Netherhart Road                  Mississauga           ON      L5T 1B7         159      90,134         13.85
Y249       888 Belfast Road, Suite 210           Ottawa                ON      K1G 0Z6              4    6,300            16
Y258       281 Queenston Road                    Niagara-On-The-Lake   ON      L0S 1J0              5     1,431         4.00
Y285       4055 Walker Road                      Windsor               ON      N8W 3T6          16       6,400          2.66
R506       3500 W First Street                   Eugene                OR      97402            40       13,127         5.00
R810       1701 SW First Street                  Redmond               OR      97756            18        5,592         2.50
Y875       6845 N Cutter Circle                  Portland              OR      97217           178      95,400        24.20
R509       1899 SE Stephens Street               Roseburg              OR      97470            14        7,240         3.30
R836       1419 Jefferson Avenue                 La Grande             OR      97830                6    3,600        4 Lots
N141       1212 O'Neil Highway                   Dunmore               PA      18512            60      64,552         17.65
Y213       70 Graham Street                      McKees Rocks          PA      15136            82      46,900     5.2 Acres
N138       3570 Broadway Road                    Milton                PA      17847            40        6,220        12.20
Y201       198 Innovation Drive                  Bedford               PA      15522            24        9,543         7.00
Y203       116 Satterlee Road                    DuBois                PA      15801            12      12,000        1 Acre
Y160       1725 Chemin Saint Francois            Dorval                PQ      H9P 2S1          67      37,920          6.74
Y700       State Road #165, KM 2.4               Guaynabo              PR      '0096                2       276          6T
Y182       5945 Chemin Saint-Elie                Sherbrooke            QC      J1R 0L1          11        4,723   12 T / 14 A
Y861       3401 North 1st Avenue                 Sioux Falls           SD      57104            24       11,376         3.50
Y565       920 Mackay Street                     Regina                SK      S4N 4X7          22      14,900          4.58
Y566       717 Cynthia Street                    Saskatoon             SK      S7L 6B7          20      14,900          4.30
Y644       280 Humbolt Lane                      Greeneville           TN      37745            28       14,676      5 acres
Y508       12340 E Northwest Highway             Garland               TX      75228           114      73,489          8.45
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Remaining Leased Real Property Assets


                                                                                            Total
Site #     Street Address                 City               State   Zip        Doors       Sq. Ft.   Acreage
Y556       3500 N McColl Road             McAllen            TX      78501          43       16,928      10.70
Y854       1317 E 38th Street             Lubbock            TX      79404          25        7,750       3.02
Y852       1201 China Street              Abilene, TX        TX      79602          14       18,449       1.29
Y572       8101 N Stateline Avenue        Texarkana          TX      75503          12       4,500        2.65
Y551       322 Hereford Road              Corpus Christi     TX      78408          10        7,260       0.50
Y558       1013 Carleton Drive            Eagle Pass         TX      78852          10       3,400        2.50
Y853       3924 South County Road 1290    Odessa             TX      79765          16       5,700        5.76
Y881       2410 S 2700 W                  Salt Lake City     UT      84119         115      128,788      34.22
R527       695 W 1700 S, Building 7       Logan              UT      84321              2    1,000        10 T
Y149       10451 Colonel Court            Manassas           VA      20110          54      20,360        5.20
Y617       1665 Seibel Drive NE           Roanoke            VA      24012          34       8,850        5.00
Y647       53 Expo Road                   Fishersville       VA      22939          20        9,225       5.23
Y873       2807 70th Avenue East          Fife               WA      98424          40       13,252      10.48
R870       1928-C Rudkin Road             Union Gap          WA      98903          15        4,272       1.29
ROVH - Kent 19604 84th Avenue South       Kent               WA      98032          60      24,436       12.60
Y642       12855 48th Avenue South        Tukwila            WA      98168         128       85,841      12.80
Y868       4905 N Railroad Avenue         Pasco              WA      99301          14       9,920        1.23
H386       6161 South 6th Street          Milwaukee          WI      53211         102      62,749       19.50
H396       400 Holland Street             Tomah              WI      54660          45      15,900       17.00
H349       2843 County Road II            Neenah             WI      54956          84      39,753       27.90
Y292       2201 6th Avenue                Charleston         WV      25312          30      14,800        3.32
R560       94 US Highway 16 East          Buffalo            WY      82834              6    4,360        2.20
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Remaining Owned Real Property Assets


                                                                                          Total
Site #     Street Address                  City               State   Zip       Doors     Sq. Ft.   Acreage
Y421       3518 Industrial Parkway         Birmingham         AL      35217         50     25,397       8.2
Y429       1111 Virginia Street            Mobile             AL      36604         24      6,972       2.3
Y415       5680 Old Hayneville Road        Montgomery         AL      36108          18    6,540        5.1
Y813       1535 E Pescadero Avenue         Tracy              CA      95304         167   164,633      54.9
R790       620 Harbor Boulevard            W Sacramento       CA      95691         35    13,050        5.1
N139       130 Canal Street                Southington        CT      6489          46     23,100       5.5
Y730       3404 Clifford Lane              Jacksonville       FL      32209         45    27,450       10.0
Y433       345 Roadway Drive               Ringgold           GA      30736         198   115,200      95.0
Y412       677 Hudson Road                 LaGrange           GA      30240          17    4,050        4.3
H397       3219 Nebraska Avenue            Council Bluffs     IA      51501         39    25,960        5.1
H368       700 NE Arch Street              Atlanta            IL      61723         46     16,521       7.8
Y309       2000 East Lincoln Highway       Chicago Heights    IL      60411        426 283,000        103.6
H244       4885 Keystone Boulevard         Jeffersonville     IN      47130         80     44,287      21.9
H341       4320 Merchant Road              Fort Wayne         IN      46818         75    30,573        6.0
           2815 S Highway 27               Goodland           KS      67735                             3.5
Y404       333 N 3rd Street                Alexandria         LA      71301          15    7,000        2.0
Y473       956 Hwy 190 West                Port Allen         LA      70767          31    9,850        5.9
Y480       158 Parker Road                 Monroe             LA      71202         10     4,950        2.0
Y153       311 East Oak Ridge Drive        Hagerstown         MD      21740         136    71,421      39.2
Y155       6311 E Lombard Street           Baltimore          MD      21224         54     25,185      10.7
Y154       75 Eisenhower Drive             Westbrook          ME      4092           18     7,505       5.2
Y191       44 Sheridan Drive               Fairfield          ME      4937           12     5,100        1.1
H263       11740 Dixie Highway             Birch Run          MI      48415         40     18,323       9.5
Y223       1280 Joslyn Avenue              Pontiac            MI      48340         80    37,025       30.3
H340       172 Industrial Parkway          Jackson            MN      56143          16     5,750       4.1
           8724 Leeds Road                 Kansas City        MO      64129                             0.1
Y455       102 Carrier Boulevard           Richland           MS      39218         117    73,234      31.6
Y462       2226 McCullough Boulevard       Tupelo             MS      38801          12    3,540        9.9
Y656       161 Center Street               Jacksonville       NC      28540          14     6,693       1.4
Y679       1061 River Road                 Fayetteville       NC      28301          17    4,050        3.9
Y864       2502 7th Avenue N               Fargo              ND      58102         27    10,840        4.2
Y381       4480 S 90th Street              Omaha              NE      68127         67     25,754       8.6
Y165       1641 Eden Road                  Millville          NJ      8332          20      5,833       3.9
Y123       1000 Homestead Avenue           Maybrook           NY      12543        304    177,600      51.2
Y132       99 Express Street               Plainview          NY      11803         38     21,600       2.4
Y216       10074 Princeton-Glendale Road   Cincinnati         OH      45246         216   175,030      42.9
H425       20820 Midstar Drive             Bowling Green      OH      43402         80     43,735      24.1
Y212       3020 Gale Drive                 Hubbard            OH      44425         28      7,284       4.5
Y240       285 Blair Street                Oshawa             ON      L1N 9V9       42    23,520       15.0
N128       2950 Grand Avenue               Neville Island     PA      15225         30     17,926       7.7
Y178       1284 S Main Road                Mountain Top       PA      18707         56    42,989       51.0
Y108       55 Industrial Road              Cumberland         RI      2864          92    41,900       10.0
Y683       1308 Pineview Drive             Columbia           SC      29209         29      7,883       8.1
Y695       2257 S Main Street              Florence           SC      29501         24      9,070       3.5
Y432       1212 Hilton Road                Knoxville          TN      37921         68    26,443        7.3
Y431       3310 Gill Road                  Memphis            TN      38109         198   125,632      51.6
